Case: 1:22-cv-01166 Document #: 1-2 Filed: 03/04/22 Page 1 of 5 PagelD #:10
From: Legal Advocates for Seniors and People with Disabilities To: Velocity Investments LLC Page: 1/4 Date: 12/31/2021 10:17:16 AM

Legal Advocates for Seniors and People with Disabilities”
180 North Michigan Avenue, Suite 908, Chicago, IL 60601
Phone: 312-263-1633 Toll-Free: 866-405-3328 Fax: 312-263-1637
Website: www.mylegaladvocates.org
E-Mail: info@mylegaladvocates.org

VIA FACSIMILE
December 31, 2021

Velocity Investments LLC
PO Box 788
Wall, NJ 7719

Re: Angela nn
ee
Consumers account {i

LASPD file number: 11947
Dear Sir or Madam:

Please be advised that we represent Angela McCarty regarding your firm's attempts to collect the
above-referenced debt.

Legal Advocates for Seniors and People with Disabilities (LASPD) is a nationwide program that
provides debt-related legal services to seniors and people with disabilities. These individuals receive a
fixed and/or limited income, protected by Federal laws, and LASPD advises them of their rights under
these laws. LASPD’‘s goal is to persuade creditors and third party collectors to cease collection efforts,
including filing a lawsuit, regarding debts such as the one referenced above.

We ask that you, or the creditor you represent, review the attached affidavit from Ms. McCarty . As
you will see, Ms. McCarty ‘s income is protected from levy, attachment or garnishment by Federal
law. Moreover, there is no income available for any payment arrangement or settlement. Accordingly,
our client refuses to pay any debt that you are attempting to collect and we request that you cease all
further collection activities and direct all future communications to our office. Additionally, please be
advised that our client disputes this debt.

In closing, I am certainly prepared to furnish you with other appropriate information that you may
require. If you have any questions, please contact LASPD at 312-263-1633.

Very truly yours,

Donald Leibsker
Legal Director

Enc.

EXHIBIT

Bs

tabbles"

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Case: 1:22-cv-01166 Document #: 1-2 Filed: 03/04/22 Page 2 of 5 PagelD #:11
From: Legal Advocates for Seniors and People with Disabilities To: Velocity Investments LLC Page: 2/4 Date: 12/31/2021 10:17:16 AM

CONSENT FORM FOR LEGAL REPRESENTATION

Please allow this form to express my (our) formal consent for Legal Advocates for
Seniors and People with Disabilities (LASPD) to provide certain legal representation on
my (our) behalf with respect to my (our) debts. LASPD, through its agents, has authority
to communicate with all creditors on my (our) behalf. All communication regarding my
(our) debts from any and all of my (our) creditors shall be made only through the agents
of LASPD. This consent form shall be valid until revoked in writing by the undersigned.

Angela F. Mf Car Yy

FIRST €LIENT’S NAME SECOND CLIENT’S NAME
FIRST CLIENT’S SECOND CLIENT’S
SIGNATURE > : SIGNATURE
$-Q-2/
DATE SIGNED | DATE SIGNED

Please include a COPY of just ONE of the following SIGNED documents:
1. Driver’s License OR
2. State I.D. Card OR
3. Social Security Card OR

4, Medicare Card

REMEMBER - YOU JUST NEED TO SEND ONE OF THE ABOVE.

12/29/2016 | q

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Case: 1:22-cv-01166 Document #: 1-2 Filed: 03/04/22 Page 3 of 5 PagelD #:12
From: Legal Advocates for Seniors and People with Disabilities To: Velocity Investments LLC Page: 3/4 Date: 12/31/2021 10:17:16 AM

Please help us to help you. The best way to give creditors a full understanding of your financial
profile is by filling out thik affidavit as completely, neatly and accurately as possible. This will
greatly help our communipation with your creditors. Thank you.

AFFIDAVIT OF INCOME AND EXPENSES

A. SOURCES OF INCOME AND GROSS MONTHLY AMOUNTS - MONEY.
RECEIVEDBYYOU
(BEFORE:DEDUCTIONS)

SOURCE OF AMOUNT SOURCE OF AMOUNT

INCOME INCOME

Social Security Retirement Wage Income

Supplemental Security Unemployment

Income (SST) : Compensation

Social Security Disability Rental Income

Veterans’ Benefits Interest Income

Workers’ Compensation : Other Income (if any,
| please describe)

Public Aid (for example,

Food Stamps}

Alimony -

Child Support

Pension Benefits

TOTAL INCOME

Over >

12/29/2016

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Case: 1:22-cv-01166 Document #: 1-2 Filed: 03/04/22 Page 4 of 5 PagelD #:13

From: Legal Advocates for Seniors and People with Disabilities

To: Velocity Investments LLC

Date: 12/31/2021 10:17:16 AM

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AFFIDAVIT OF INCOME AND EXPENSES (Continued)

B. MONTHLY EXPENSES — MONEY YOU PAY TO OTHERS |

TYPE OF

Car Payment(s)
Car Insurance

Car: Gas & Maintenance

MONTHLY | TYPE OF MONTHLY
EXPENSE AMOUNT EXPENSE AMOUNT
Rent/Mortgage Medical -
Please circle one. :
Average Utilities (gas,
electric, telephone, cell
phone, water, etc.)
Real Estate Taxes. Be Dental
sure to divide the yearly
amount by 12.
Food Religious Affiliation
Donations

Health Insurance

Life Insurance

Home/Renter’s Insurance

Other Transportation
Costs

Reasonable expenses to
support a child or parent

Other Expenses (List)

TOTAL EXPENSES

Have you ever co-signed a financial document? In other words, have you ever signed a
document with another person where they, and not you, were going to get something?

If yes, please give us the name of this person, the name of the creditor and the type of debt (e.z.,
a home loan or a car loan):

12/29/2016

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Case: 1:22-cv-01166 Document #: 1-2 Filed: 03/04/22 Page 5 of 5 PagelD #:14

GFI Fax transmission report
Fax sent at: 10:25:57 AM, 12/31/2021

All files submitted to server

Fax Status: Normal

To Fax #: 7325560365

To Name:

To Company: Velocity Investments LLC

From Fax Number: 13122631637

From Voice Number:

From Name: LASPD

From Company: Legal Advocates for Seniors and People with Disabilities
Subject: RE:Angela McCarty a
Time Sent: 10:25:57

Date Sent: 2021-12-31

Sending Time: 00:00:09

Total Pages: Cover page plus 4 attached pages.

No comments were included on cover page...

END OF TRANSMISSION REPORT...
